AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                       __________ District of __________

                                                                             )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No.
                                                                             )
                            Defendant                                        )

                                              WAIVER OF THE SERVICE OF SUMMONS

To:
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                                      , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party


        Printed name of party waiving service of summons                                                      Printed name




                                                                                                                 Address


                                                                                                             E-mail address


                                                                                                           Telephone number

                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.


           Print                          Save As...                                                                                   Reset
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of __________

                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No.
                                                                                )
                               Defendant                                        )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                  District Judge’s signature



                                                                                                    Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                             Reset
                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



_________________________________     )
_________________________________     )
_________________________________     )
_________________________________     )
_________________________________,    )
                                      )
            Plaintiff(s),             )
                                      )
      v.                              )
                                      )
_________________________________     )        Civil Action No. ________________
_________________________________     )
_________________________________     )
_________________________________     )
_________________________________, )
                                      )
            Defendant(s)/             )
            Third-Party Plaintiff(s), )
                                      )
      v.                              )
                                      )
_________________________________     )
_________________________________     )
_________________________________     )
_________________________________     )
_________________________________, )
                                      )
            Third-Party Defendant(s). )
____________________________________)

           DISCLOSURE STATEMENT PURSUANT TO Fed. R. Civ. P. 7.1
                            (Civil Action)

      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, ____________________,
                                                                     (type of party)
who is ________________________________________, makes the following disclosure:
             (name of party)




                                      Page 1 of 2
1.     Is the party a non-governmental corporate party?
                                     9 YES          9 NO

2.     If the answer to Number 1 is “yes,” list below any parent corporation or state that there
       is no such corporation:

________________________________________________________________________

________________________________________________________________________

________________________________________________________________________



3.     If the answer to Number 1 is “yes,” list below any publicly-held corporation that owns
       10% or more of the party’s stock or state that there is no such corporation:
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________

        The undersigned party understands that under Rule 7.1 of the Federal Rules of Civil
Procedure, it must promptly file a supplemental statement upon any change in the information that
this statement requires.


                                                    __________________________________
                                                    Signature of Counsel for Party

Date: ___________________




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